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                 EXHIBIT D
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                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

SECURITIES AND EXCHANGE
COMMISSION,

      Plaintiff,

v.                                             Civil Action File No.
                                               1:18-cv-05868-LMM
JOSEPH A. MEYER, JR. and
STATIM HOLDINGS, INC.,

      Defendants.


                                    ORDER

      This matter is before the Court on Receiver Al Hill’s (“Receiver”) Motion to

Allow and Pay Fees and Expenses to the Receiver (Second Interim Application)

(“Motion”).    The Receiver requests payment of attorneys’ fees and expenses

incurred in his duties as Receiver during the period October 1, 2019, to December

31, 2019.     No other party filed a response to the Motion, and it is deemed

unopposed. N.D. Ga. LR 7.1(B). Having considered the Motion, and that it is

unopposed,

      IT IS HEREBY ORDERED that the Receiver’s Motion to Allow and Pay

Fees and Expenses to the Receiver (Second Interim Application) is GRANTED.
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The Receiver is authorized to draw down $41,976.44 from the assets of the

receivership to pay the Receiver and his counsel and $24,410.00 to pay Lightfoot

Group, LLC.

      SO ORDERED this ___ day of _________________, 2020.



                                            _____________________________
                                            Leigh Martin May
                                            United States District Judge
                                            Northern District of Georgia




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